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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                CENTRAL DIVISION


 LUCY ALEXANDER, MARY BAUGHMAN,
 ROBERT MOODY, DANNY METTS, and
 RANDALL ROACH

 On behalf of themselves and all those similarly
 situated,                                                     No. 3:20-cv-00044-GFVT-EBA
                                             Plaintiffs,

                           v.

 THOMAS B. MILLER, in his official capacity as
 Commissioner of the Kentucky Department of
 Revenue, et al.,

                                           Defendants.



             MEMORANDUM OF LAW OF PLAINTIFFS AND THE CLASS IN SUPPORT
                OF THEIR RENEWED MOTION FOR SUMMARY JUDGMENT
                          AGAINST THE UKH DEFENDANTS

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         Plaintiffs and the Class respectfully submit this Memorandum of Law in support of their

renewed motion for summary judgment against the UKH Defendants (Eli Capilouto and Penny

Cox).1 A portion of the relief that Plaintiffs and the Class sought in their original motion for sum-

mary judgment (the “Original MSJ”: ECF##92, 93-2, 95-99, 101, as amended by ECF#102) has

become moot, but other relief sought is not moot. This renewed motion seeks summary judgment

in favor of Plaintiffs and the Class with respect to the portion of the relief sought that is not moot.

                                                   INTRODUCTION

         Discovery in this action confirmed that there was no genuine issue—indeed, no issue at

all—as to the 15 years of due process violations committed by the Kentucky Department of Rev-

enue (DoR) and the University of Kentucky Healthcare System (UK Healthcare or UKH). Until it

was forced to give up the ghost in April 2022, DoR collected medical debts alleged to be owed by

UKH’s patients by administrative levy—that is, the state garnished Kentuckians’ paychecks and

seized their state tax refunds and funds from their bank accounts without any judicial intervention

whatsoever. When patient-debtors disputed the existence or amount of the claimed debt, DoR did

not offer them hearings of any kind, either before or after seizure. Indeed, it expressly denied that

hearings were or could be available. DoR did all that at the behest, and for the benefit, of UKH.

1
    Under the doctrine of Ex parte Young, 209 U.S. 123 (1908), the Defendants in this action are officials of the
    University of Kentucky who have charge of the University’s healthcare system (“UKH”) and officials of the Ken-
    tucky Department of Revenue (“DoR”) who have charge of DoR’s agency debt collections. As we did in our
    original motion for summary judgment (ECF#93-2, the “Original MSJ”), we refer to the institution rather than to
    the individual defendants. Saying “UKH” instead of “the University Defendants” and “DoR” instead of the “De-
    partment of Revenue Defendants” is both shorter and, in this context, more accurate. Although UKH’s debt col-
    lection arm, Central Kentucky Management Services, Inc. (“CKMS”) is occasionally referred to directly, all parties
    agree that CKMS is a component of UKH, and references to UKH are intended to include CKMS as appropriate.
    Substantially all of the evidentiary material cited in this brief is in the record as part of the Original MSJ. Those
    materials were divided into four parts for ECF filing purposes (ECF##95, 96, 97, 98) and are headed by a Statement
    of Material Facts (“SoF”) that keys into the specific evidence supporting specific factual assertions. As was the
    case in the Original MSJ, all facts the Court needs to decide this motion are set forth in this brief. Citation to SoF
    paragraphs (generally cited to ECF#95) is done as a shorthand and a convenience and should be understood as a
    citation to the specific evidentiary items referenced in those paragraphs.
    Exhibits numbered 1 to 129 were submitted with the Original MSJ and may be found at ECF##95-98. Exhibits
    numbered 130 to 152 were submitted in opposition to Defendants’ motions for summary judgment and may be
    found at ECF#108Additional evidentiary materials are annexed to this brief as Exhibits and are cited by Exhibit
    number, starting with Exhibit 153. Citations to depositions are to the excerpts previously submitted (ECF##99,
    101, 108).
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       For more than 150 years, even before adoption of the Fourteenth Amendment, the law has

been clear that such conduct is inconsistent with fundamental fairness:

       Parties whose rights are to be affected are entitled to be heard; and in order that
       they may enjoy that right they must first be notified. Common justice requires that
       no man shall be condemned in his person or property without notice and an oppor-
       tunity to make his defence. Baldwin v. Hale, 68 U.S. 223, 233 (1863).

Baldwin embodies “the central meaning of procedural due process” under the Fourteenth Amend-

ment, so that:

       It is equally fundamental that the right to notice and an opportunity to be heard
       “must be granted at a meaningful time and in a meaningful manner.” Fuentes v.
       Shevin, 407 U.S. 67, 80 (1972) (quoting Armstrong v. Manzo, 380 U.S. 545, 552
       (1965)); accord Johnson v. City of Saginaw, 980 F.3d 497, 507 (6th Cir. 2020).

None of that happened here.

       Each of the Named Plaintiffs in this action has serious disputes about the existence or

amount of the medical debt Defendants have said they owe. Lucy Alexander, for example, was

told by UKH that her insurer had pre-authorized the procedure for which she was being billed;

UKH acknowledges that it made a coding mistake that caused the authorization to be rescinded,

but it strung Ms. Alexander along until it was too late to appeal the insurance denial. For years,

DoR collected from Ms. Alexander for a procedure she would not have had at all but for UKH’s

mistake. And, in doing so, DoR took 20 cents of every dollar it collected from Ms. Alexander and

applied it to a statutory “fee” that it never could have collected but for the due process violation.

       Ms. Alexander has never had a hearing on these issues. Instead, her bank account was

swept by DoR, her paycheck was garnished, and she was told that the only way she could avoid

continuation of such exactions was to enter into a payment plan for a debt she believes she does

not owe. As she testified (Alexander 74:3-14):

       I was told by the Department of Revenue that this is the only thing that I could do
       was make a payment plan. After they took a whole two week’s paycheck, seized
       my wages. I went down to their office, and I sat down in front of two men, and they


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         told me—I told them the whole story about the bill, how it was messed up, that they
         coded it wrong. The insurance paid, then they took it back. I told them the whole—
         went through everything with them. And they said, the only thing that you can do
         is make a payment plan. It was either that or them continuing [to] seize my wages.
         And I had two kids to take care of. That’s what happened.

 That, in a nutshell, is what this case is about.

         Or, at least, that is what this case was about until last Spring. On March 24, a month after

 the parties filed their motions for summary judgment, DoR announced on its website that it was

 no longer in the business of collecting UKH medical debt:




 https://revenue.ky.gov/Collections/Pages/Collection-Activity-Procedures.aspx (screenshot from

 visit on March 24, 2022).

         As it turns out, on the same day that Plaintiffs and the Class filed their Original MSJ,

 DoR wrote to UKH throwing in the towel. As we now know, DoR told UKH that “the current

 statutory process is not the most efficient and effective method to collect [UKH] debt” (Ex. 153).

 Accordingly, DoR sought and obtained introduction of legislation in the General Assembly “to

 end the Departments role in these consumer debt collection matters” (id.). A month later, UKH

 gave notice to DoR terminating their collection agreement (Ex. 154). By taking this action in the




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 middle of summary judgment briefing, Defendants effectively conceded that they could not prevail

 on the merits of the constitutional claims in this action.

            The Original MSJ sought two forms of relief:

        •       enjoining Defendants from continuing DoR’s collection of UKH medical debt
                without affording Plaintiffs and the Class the due process they had been deprived
                of for over a decade, and
        •       prospective structural relief concerning the underlying debts, to ameliorate the
                ongoing effects of Defendants’ 14-year regime of due process violations.2

 The requested structural relief included, among other things, adjustments going forward of the

 balances due (or said to be due) to account for the 25% statutory “fee” that, in light of the due

 process violations, DoR never had any right to collect.

            Defendants’ abandonment of the DoR collection process—both the legislation sought by

 DoR and UKH’s termination of the collection contract—became effective in April 2022.3 At that

 point, the claim to enjoin ongoing DoR collections became moot. There were no more DoR col-

 lections, and (by statute) never would be. There was nothing at DoR left to enjoin.

            The claim to enjoin ongoing collections by DoR was the only claim against the DoR De-

 fendants (Thomas Miller and Tammy Watts). Accordingly, the action is fully moot as to them. But

 the claim against UKH has a second portion—the request for prospective structural relief—and

 that portion of the requested relief is not moot.

            Although DoR has foresworn further collection activity, UKH has not. It apparently con-

 sidered doing so at the time DoR collections ceased (see Ex. 155, a letter UKH drafted but, Plain-

 tiffs believe, never sent), but it has not followed through. Accordingly, Plaintiffs and the Class

 Members face the possibility that UKH will sue them to collect the alleged debts. And it is in such

 2
     In the Amended Motion filed on March 9 (ECF#102), Plaintiffs and the Class removed one portion of the requested
     structural relief, but the Original MSJ was otherwise unchanged.
 3
     The language was added to the annual revenue bill, HB8, and the General Assembly overrode Gov. Beshear’s veto
     on April 13, 2022. There is some question whether the legislation became effective immediately or only after a
     90-day waiting period, but that issue is immaterial for current purposes.


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 lawsuits that Plaintiffs need protection from this Court against the ongoing, unabated consequences

 of Defendants’ years of due process violations.

            Specifically, Plaintiffs and the Class seek:

        •       a declaration that UKH must give them full credit against their alleged debt for
                all amounts they paid to DoR, regardless of how much DoR purported to allocate
                to the 25% “fee” that it never could have charged but for the due process viola-
                tions;
        •       a declaration that UKH may not assert they conceded the validity of the alleged
                debt by bowing to DoR’s coercion and entering into payment plans that purported
                to contain such a concession; and
        •       a declaration that, in defending UKH’s suit, they may raise as a defense a wrong-
                ful denial of financial assistance.

            This relief is entirely forward-looking. Plaintiffs and the Class seek not a dime returned of

 the amounts they have paid. If, as was once apparently contemplated, UKH chooses not to sue

 them, the relief will never bite. All that Plaintiffs and the Class seek is protection from the ongoing

 consequences of the years of due process violations in any collection action that UKH does pursue.

 And, as we now show, Plaintiffs and the Class are entitled to summary judgment granting them

 that forward-looking relief. The brief proceeds by first establishing the underlying due process

 violations and then showing the need for relief against the ongoing, residual effects of those vio-

 lations.

                                              STATEMENT OF FACTS

 The Three Stages of the Collection Process

            Prior to the recent termination of its relationship with DoR, UKH collected patient debts

 through a three-tiered process:

        •       collection attempts by UKH itself or by Kentucky Medical Services Foundation
                (KMSF),4 the billing arm for UKH providers;

 4
     KMSF is the business office for providers practicing within the University of Kentucky HealthCare Enterprise..
     As discussed below, it is ostensibly not part of the University of Kentucky but supposedly a separate non-profit
     foundation, which ultimately caused DoR to conclude that it did not have statutory authority to collect KMSF debt.


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        •       referral for further collection attempts by Central Kentucky Management Services
                (CKMS)5; and
        •       referral to the Department of Revenue (DoR) for non-judicial collection remedies
                including wage garnishment, lien placement, state tax refund offset, and bank ac-
                count levies.

 In no stage did patients receive notice at a meaningful time and in a meaningful manner of their

 right to dispute the existence and/or amount of the debt.

            The UKH collection process started when UKH or KMSF sent a form invoice to a patient

 showing the amount owed for medical services and procedures provided (SoF ¶ 6). Although the

 format of the invoices changed over the years, the substance did not. Since 2009, patient invoices

 from KMSF and UKH merely directed patients to call a customer service line with inquiries about

 the amount alleged to be owed and to memorialize any suspected billing errors in writing (SoF

 ¶ 8). UKH’s invoices have never contained notice about the patient’s right to an appeal or a

 hearing on the existence and/or amount of the debt. (SoF ¶ 7)

            UKH policies did not direct staff to tell the patient about a right to a hearing or appeal;

 indeed, UKH customer service employees were trained not to use the word “hearing” at all. In-

 stead, a patient’s disputing a bill trigged a completely internal review process within UKH, the

 result of which was simply communicated to the patient on take-it-or-leave-it basis (SoF ¶¶ 71-

 84).

            Nor did UKH invoices advise patients that referral to CKMS would take away their right

 to financial assistance. UKH sent a series of four invoices, on identical forms but with increasingly

 urgent “pay now!” language in an optional-text box on the front. The third and fourth invoices

 (Forms C and X) warn the debtor to “pay immediately . . . to avoid placement with a collection


     For purposes of this case, however, KMSF is a subsidiary of UKH, as the class definition (entered without oppo-
     sition from UKH on this issue) expressly states.
 5
     CKMS is a non-for-profit corporation organized as a subsidiary of UKH and acts as a debt collector for UKH and
     KMSF debts.


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 agency” (SoF ¶¶ 9-10), but none of the invoices discloses that placement with an agency cuts off

 the debtor’s right to participate in UKH’s Financial Assistance Program—even through UKH

 agrees that this was precisely what happened on referral to CKMS (SoF ¶¶ 119-121).

          After referral, CKMS sent initial notices that contained standard language from the Fair

 Debt Collection Practices Act (FDCPA) (e.g., Ex. 5-7),6 giving patients every reason to believe

 that UKH was employing ordinary collection practices that would ultimately result in a court pro-

 cess. The disclaimers remained substantially unchanged up until the end of UKH’s relationship

 with DoR (SoF ¶ 15). The notices state that patients may notify CKMS that they dispute the valid-

 ity of their debts, but they neither state nor imply that patients have the right to a hearing or appeal

 process before a neutral decisionmaker (SoF ¶ 16). And CKMS’s written dispute policies, like

 those of UKH, described a completely internal review process for disputes, with no mention of

 “appeal” or “hearing.” Once internal review was complete, CKMS advised the patient of the result

 and continued collection. Like UKH itself, CKMS never told patients who called to dispute their

 bills that they had a right to appeal. (SoF ¶¶ 71-84)

          If CKMS did not succeed in obtaining payment, it referred outstanding patient debts to

 DoR, which (among other things) seized bank accounts and garnished wages to collect the debt.7

 The form notices issued by DoR never told UKH patients that they had a right to a hearing or

 appeal (SoF ¶¶ 98, 101), and it was DoR’s firmly held and oft-restated position that no such right

 existed (SoF ¶¶ 102).




 6
     Under the FDCPA, a person who qualifies as a “debt collector” must disclose in the initial written communication
     “that the debt collector is attempting to collect a debt and that any information obtained will be used for that
     purpose.” 15 U.S.C. § 1692e(11). CKMS’s initial notice parrots the language required by 15 U.S.C. § 1692g(a).
 7
     Prior to 2018 or 2019, DoR also placed liens on real property.


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         CKMS repeatedly sent DoR accounts containing errors (SoF ¶¶ 204-205 & Ex. 72). At

 least 324 individual accounts were voided at the DoR level and sent back to CKMS due to UKH

 billing errors (SoF ¶ 183).

         When a patient disputed their account with DoR, two responses often occurred: (1) DoR

 told the patient they could write a dispute letter, which DoR would forward to UKH; and (2) DoR

 put a time-limited hold on the account and sent it back to CKMS, triggering CKMS’ internal re-

 view process (SoF ¶ 203). These responses could occur after property has already been seized

 (e.g., SoF ¶ 199). There were also instances where CKMS did not respond to DoR, so when the

 time-limited hold expired, DoR would continue collecting on the account (SoF ¶ 203). Patients

 who requested hearings at the DoR level were simply told that was not an option (SoF ¶¶ 206-

 210).

 The Saga of “Letter 8” and Defendants’ Ongoing Effort To Prevent Hearings

         Starting in 2009, CKMS issued a document called “Letter 8” to patients prior to referring

 their alleged debts to DoR. Defendants’ grudging, incremental changes to the document over the

 years tell a clear story of their repeated efforts to do as little as possible to provide hearings and as

 much as possible to prevent them.

         The First Letter 8

         The first Letter 8—used through May of 2012—merely states, “If we do not hear from you

 within 14 days from the date of this notice, your account will be turned over to the Commonwealth

 of Kentucky, Department of Revenue” (Ex. 12). This version of Letter 8 does not mention any

 right to a hearing or appeal.




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          DoR’s Cessation of Collections in 2012 Due to an Acknowledged Lack
          of Due Process, and Defendants’ Decision to Keep Collecting “Pipeline”
          Debts Notwithstanding that Acknowledged Lack

          In the Spring of 2012, DoR realized that UKH’s procedures did not provide due process,

 and DoR froze its collection activity on UKH accounts (SoF ¶ 34). In June, UKH put in place new

 procedures that, it claimed, would meet constitutional requirements (SoF ¶¶ 35-38), but Defend-

 ants still needed to decide what to do about the patient-debtors whose accounts were already with

 DoR—and thus, concededly, had not been afforded due process. Stephen Crawford, then an As-

 sistant General Counsel at DoR, wrote to counsel for UKH as follows:




 (Ex. 15) No, it was not a “perfect world”—at least, the world inhabited by UKH and DoR was not.

 Rather than send the “pipeline” debt back to UKH so there could be some attempt to remedy the

 acknowledged failure of due process, DoR simply kept the money, kept the pipeline cases, and

 moved forward. As Defendant Watts testified:

                   Q    In fact, the cases were not sent back for implementation of the new
                        procedures and they were kept, correct?
                            A    Yes.
                   Q    Because there was a lot of money at stake, correct?
                            A    Yes. (Watts 23:5-11).8

 8
     This was not the only instance where DoR and UKH decided not to submit refunds or make other adjustments
     upon concluding that their procedures had been faulty. In 2019 DoR concluded that it should no longer collect
     UKH’s physician debt (as opposed to hospital debt) because that debt was through KMSF, which was not a state
     agency like the University itself (see Watts 29:10-30:21; 37:20-25). Initially, DoR decided it would not place new
     KMSF debt for collection but would keep collecting on existing payment plans and wage levies (id. 40:12-25).


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           The Subsequent Development of Letter 8

           In June 2012, in response to DoR’s suspension of collection, CKMS added to Letter 8 a

 telephone number and contact person to call for an “independent review of your account” in the

 event of a dispute, but with no explanation as to what that review would entail (SoF ¶¶ 35-37).

 UKH sent this version of Letter 8 to “debtors with overdue UKH accounts” (SoF ¶ 38), at least

 5,000 of them (Ex. 21). In all of 2012, only 93 people responded to 23,244 Letter 8s, and UKH

 conducted only 13 reviews (id. at 18-19).

           In August 2012, a new version of Letter 8 stated that “under Kentucky law, you have the

 right to protest this bill and request a conference with a University of Kentucky, Hearing Officer,”

 providing patients fourteen days to dispute their bill in writing (Ex. 19). The fourteen days ran

 from the date Letter 8 was mailed by CKMS, but the dispute documentation had to be received by

 CKMS within that time period—i.e, CKMS took the “mail float” on both ends of the process.

 Assuming (best case) two days for mail delivery on each end, UKH’s patients had (at most) ten

 days to obtain a “conference” on medical bills that could be more money than they made in a year.

       •       In 2013, CKMS sent 14,210 Letter 8s. 19 reviews were requested; 6 were held.
       •       In 2014, CKMS sent 15,115 Letter 8s. 18 reviews were requested; 9 were held.
       •       In 2015, CKMS sent 7,083 Letter 8s. 11 reviews were requested; 1 was held. (SoF
               ¶¶ 45-47)

           Defendant Watts Tells UKH and CKMS That Their Procedures Are Deficient

           On November 24, 2015, Defendant Watts (then Deputy Executive Director of DoR’s Of-

 fice of Processing and Enforcement) warned UKH and CKMS that their notice procedures violated

 Kentucky law because the initial invoice did not inform the debtor of their right to appeal (SoF



    When all collection activity finally did cease, DoR did not make refunds to the individuals from whom, DoR
    believed, it had been collecting from without authority (id. 43:14-24). Plaintiff Baughman was one of the many
    individuals who suffered from this decision: DoR eventually stopped collecting the KMSF portion of her asserted
    debt, but it did not refund to her the money it had already taken (id. 44:10-25 & Ex. 113).


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 ¶¶ 17-20). Ms. Watts provided sample corrective language for the invoices, which would have told

 UKH’s patient-debtors that referral to DoR “may result in wage garnishments, bank levies, tax

 refund seizures or other collection actions” (Ex. 8). Ms. Watts made it clear that the changes were

 necessary before CKMS could validly certify debts to DoR as due and owing.

         Neither CKMS nor UKH ever modified their invoices based on this letter (SoF ¶ 21),

 and no document ever sent by UKH or CKMS warned patient-debtors of wage garnishments

 or bank levies. Instead, UKH sought easier and cheaper solutions. In March 2016, Mr. Crawford

 and Marcy Deaton, a UK lawyer who wore a second hat as the UKH Hearing Officer (Deaton

 30(b)(6) 96:13-21), exchanged emails regarding the use of “informal hearing” procedures, which

 might exempt UKH from the notice and hearing requirements of Kentucky’s Administrative Hear-

 ings statute, KRS Chapter 13B. Crawford wrote, “This may be our way out!” and Deaton replied,

 “I like it!” (SoF ¶¶ 163) Ultimately, UKH concluded that the “way out” would not work and de-

 cided to outsource the few hearings it was holding to the Kentucky Attorney General’s Office, a

 transition that took three years, from 2016 to 2019, to complete (Deaton 51:23-53:8). No hearings

 were conducted in this transition period, although some had been requested (id. 53:9-15). Until

 UKH turned the process over to the Attorney General’s office in 2018, its “hearings” were held

 before Ms. Deaton, and did not even permit the patient to call or cross-examine witnesses from

 UKH (SoF ¶¶ 147-148). When the process moved to the Attorney General’s office, Ms. Deaton

 took off one of her hats and slipped seamlessly into the role of prosecutor for UKH—which, in

 fact, is all she ever was.

         The Final Letter 8 and Letter 83

         The December 2016 revision to Letter 8 gave patients thirty days instead of fourteen to

 dispute their bills; rephrased the patient’s right to “protest” as a right to “dispute”; and renamed

 the patient’s right to a “conference” as a “hearing” right (Ex. 25). Starting in 2018, and continuing


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 until Defendants gave up in 2022, Letter 8 did include some information for patients about the

 consequences of nonpayment of the debt, saying that “any individual state income tax refund to

 which you are entitled could be withheld for setoff against this debt. You would receive written

 notice before that occurs.” (Ex. 24) But even this version was incomplete, for it did not mention

 the additional collection methods that DoR exercised, including wage garnishment and bank levy.

 No version of Letter 8 ever mentioned these collection methods.

          The final version of Letter 8 also explicitly excluded certain types of disputes from the

 appeals process. Beginning in 2015, Letter 8 had contained the following proviso:

          NOTE: Hearings will not be granted on the grounds of inability to pay or dissatis-
          faction with medical care. (SoF ¶¶ 48-50)

 This proviso was added to Letter 8 “to streamline the process” (Deaton 30(b)(6) 96:13-21)—i.e.,

 reduce the number of appeals UKH would have to deal with.

          In March 2018, UKH amended its “Letter 83”—a “we haven’t heard from you” letter that

 went out immediately before Letter 8—to contain hearing language similar to that in Letter 8 (in-

 cluding, in particular, the carve-out for inability to pay or dissatisfaction with medical care). (Dea-

 ton 30(b)(6) 116:22-117:5).9 Letter 83 did not contain any reference to DoR or to actions DoR

 might take.

          The Timing of Letter 8, and Its Manner of Delivery

          Despite the Kentucky law cited by Ms. Watts, which required information concerning ap-

 peals to be in the “initial invoice,” UKH’s initial invoice provided no such information. Indeed, as

 set forth above, UKH never provided such information. And CKMS’s initial demand for payment

 was no more than a standard FDCPA request for verification, with no mention of appeals or




 9
     Exhibit 9 is the pre-2018 Letter 83 and Exhibit 10 is the post-2018 version.


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 hearings. (SoF ¶¶ 14-16) The supposed notice was provided only in Letter 8 and, from 2018 to

 2022, Letter 83.

           Letters 8 and 83 did not come at the beginning of the process but rather at the end (see Ex.

 9). For example, CKMS sent Plaintiff Metts thirty-two separate validation letters before they sent

 him Letter 8 (ECF #32-43). The timing of Letter 8’s delivery concealed its importance.

           So did the manner of its delivery. CKMS is a debt collector and must comply with the

 FDCPA (SoF ¶ 12). Because section 1692f(8) of the FDCPA generally prohibits anything but a

 return address on an envelope sent for debt collection purposes, Letter 8, like all CKMS corre-

 spondence, arrived in a plain envelope, with no indication that it was from a debt collector, let

 alone that it contained important information about legal rights that would be forever lost unless

 exercised immediately (SoF ¶ 60). The undisputed expert testimony is that it was “unlikely that

 [Letter 8] would be opened; if opened, unlikely the ‘hearing’ section would be read; and if read,

 unlikely the ‘hearing’ section would be comprehended.”

           CKMS records show that it mailed Letter 8 to Named Plaintiffs, but Named Plaintiffs do

 not recall receiving it, nor did they retain it, though they retained other correspondence from UKH

 and CKMS. If they received Letter 8, they did not recognize its importance at the time (e.g., SoF

 ¶¶ 239, 275). This was a natural consequence of Defendants’ conduct.

           Defendants’ statistics on the response to Letter 8—63,000 sent, 65 hearings requested, a

 response rate of one-tenth of one percent—confirm its insufficiency as a vehicle for providing

 actual notice of due process rights to UKH patients. There were 4,000 disputes in UKH’s “Com-

 plaint Tracker” spreadsheet from January 1, 2017 through 2020 (SoF ¶ 66).10 In that time period

 there was precisely one hearing held (id.). Suppression works.


 10
      The spreadsheet was produced during class discovery in 2020 and thus does not contain information for subsequent
      periods.


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 DoR Collection Procedures After Referral to DoR

           Several aspects of DoR’s collection procedures following referral remain relevant, not-

 withstanding the DoR’s termination of further collection activity, because they effected permanent

 changes in the parties’ relationships. Assuming Plaintiffs and the Class prevail on the underlying

 constitutional claim, they are entitled to declaratory relief against those ongoing effects.

           The 25% Fee

           Pursuant to K.R.S.§ 45.238(3)(a)(2) and K.R.S.§ 45.241(7)(b)(1)(b), DoR added a 25%

 “collection fee” to the principal amount of every debt UKH referred to it for collection. As a con-

 sequence, payments made to DoR by UKH medical debtors did not reduce the amount of the debt

 dollar-for-dollar. Rather, only 80% of each payment went to reduce the outstanding principal

 amount; the rest was retained by DoR. As DoR stated in response to a request for admission:

           When medical debts are referred to the Department, a cost of collection fee of 25%
           are added to them. The Department remits 80% of all amounts collected to the Uni-
           versity of Kentucky, and retains 20%, until the 25% collection fee has been col-
           lected. Thereafter, the Department remits 100% of any remaining amounts to the
           University. (Ex. 156)

           No version of Letter 8 ever told debtors that sending their debt to DoR would make them

 subject to this additional fee.

           A statement sent by DoR to Plaintiff Alexander just before this action was filed (Ex. 157)

 shows how this “collection fee” worked. The principal amount of the “referred debt liability” was

 shown as $25,340.93, to which had been added a 25% “Enterprise Cost of Collection” fee of

 $6,335.23.11 The first two payments (on pages Plaintiff_Class_000023-24), which were a tax re-

 fund offset and the wage garnishment, totaled $3,944.19 ($2,012.00 + $1,922.19), of which



 11
      Interest of $5,091.98 was also shown as added, but UKH does not charge interest on its medical bills (the interest
      shown is statutory interest pursuant to K.R.S.§ 45.241(7)(b)(1)(a)), and counsel for Defendants have asserted that
      the accounts “returned” to UKH when DoR ceased collections in April 2022 did not include interest. Assuming
      this is correct—but UKH will need to confirm that it is—then relief is not necessary as to interest.


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 $786.83 ($402.40 + $384.43) was allocated to the fee and thus did not reduce the outstanding

 principal balance. Thereafter, Ms. Alexander entered into a payment plan of $100 every two weeks,

 and $20 of each payment was allocated to the fee (pages Plaintiff_Class_000024-31). All told, Ms.

 Alexander paid DoR $20,191.45, but over $4,000 of that was allocated to the fee. Including inter-

 est, her balance due at the end of the period had been reduced by less than $9,000, to $16,576.69.

        On this motion, Ms. Alexander asks that, going forward, she be given full credit against

 her debt for the $20,191.45 she has already paid, so that if UKH sues her on the alleged debt, the

 most it can seek, even if it wins on the merits, is $5,149.48. Plaintiffs and the Class seek similar

 relief on behalf of every member of the Class who made any payments at all to DoR.

        The Coerced Payment Plans

        Like Ms. Alexander, many Class members entered into payment plans with DoR once they

 understood that (a) DoR could grab their assets and (b) they had no escape, because there was no

 right to a hearing at DoR. Throughout this litigation, Defendants have asserted that any due process

 claim by such Class members was vitiated by their “voluntary” act of entering into a payment plan.

 But entry into payment plans by Plaintiffs and Class Members was not voluntary; it was coerced.

 It was inherently involuntary.

        The first communication a debtor got from DoR was a notice telling them their assets were

 subject to seizure if they did not immediately pay the asserted debt in full. Thus, on January 5,

 2015, Plaintiff Alexander was sent a letter (Ex. 35) as follows:




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 The letter does not mention payment plans, but when patients called DoR they were told a payment

 plan was their only way to avoid either paying in full immediately or having their assets seized

 (SoF ¶¶ 96-100). This initial letter was followed up by a “Final Notice Before Seizure” (e.g., Ex.

 36), which said basically the same thing, only in solid capital letters. DoR said that patients who

 disagreed with the bill could submit their reasons to DoR, but DoR made it clear that it would

 decide whether those reasons were valid. No right of appeal was mentioned, and none was given.

          Defendant Watts testified that entry into a payment plan in these circumstances is “volun-

 tary”:

                         A   . . . [W]hen when they voluntarily entered into a pay agreement,
                             we assume they accept the debt and think it’s correct and are
                             making payments on it.
                  Q   Okay. So you’re placing a lot of weight on the word “voluntarily”
                      there, aren’t you?
                         A   Voluntarily. They volunteer to pay.
                  Q   Of their own free will with no -- with – with no impetus from the De-
                      partment?
                         A   We don’t twist their arm. (Watts 52:4-12)

 “Don’t twist their arm”? Nonsense. Look at those letters. And remember that anyone who asked

 was told that there were three and only three choices: pay in full, do a payment plan, or have your

 assets seized.




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           Thus, in 2019, Plaintiff Tip Moody entered into a payment plan with DoR after discovering

 DoR had placed a lien on his 90-year-old mother’s home in 2010 (SoF ¶¶ 261-262). Similarly, on

 June 18, 2015, DoR seized Plaintiff Lucy Alexander’s entire biweekly paycheck. Ms. Alexander

 had two children to take care of and was depending on this money. After calling her employer’s

 HR office to find out what happened, she drove straight to DoR’s office to ask for a meeting

 (Alexander 74:5-14). At DoR’s office, three men met with Alexander, and she told them about her

 dispute with UKH. They told her that she had to enter a payment plan of at least $100 every two

 weeks or they would continue to garnish her wages. So, Alexander started to pay $200 a month to

 DoR, which DoR took out of her paycheck directly. Plaintiffs Baughman and Moody likewise

 entered into a payment plan with DoR because they felt they had no choice (SoF ¶¶ 262, 295).

 Named Plaintiffs’ Facts12

           Lucy Alexander (SoF ¶¶ 216-250)

           Ms. Alexander started planning for her 2012 hernia repair surgery, an elective procedure,

 two months in advance, which included paying a $150 preauthorization fee. Before the surgery,

 UKH told Ms. Alexander that her insurer, Anthem, had preauthorized the surgery and it would be

 fully covered. After the procedure, however, Ms. Alexander received a letter from Anthem denying

 coverage. Ms. Alexander immediately contacted UKH to express her confusion and was told they

 would look into it. Ms. Alexander did not hear from UKH until three months later when she re-

 ceived a bill indicating that Anthem had covered the procedure. Ms. Alexander called UKH to set

 up a payment plan for the remaining balance three separate times but was always told the claim

 was still pending with her insurance, so she should wait. Then seven months after receiving that

 initial bill from UKH, Ms. Alexander received a bill now showing that she owed the full cost of

 12
      Plaintiff Danny Metts was unable to sit for his deposition, and UKH moved to dismiss him as a Plaintiff (ECF
      #91). Plaintiffs proposed deferring dismissal until closer to trial, but in the current circumstances Plaintiffs and the
      Class are not in a position to oppose the motion to dismiss Mr. Metts.


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 the procedure, more than $25,000. Through calling UKH’s billing department, Ms. Alexander now

 discovered that UKH had miscoded the procedure and her insurance company would not cover the

 surgery.

        By then, however, Ms. Alexander’s time to appeal her insurer’s decision had lapsed. UKH

 told Ms. Alexander that her only recourse was to file an insurance appeal that they themselves had

 rendered untimely. To dispute this, Ms. Alexander and her husband called UKH’s phone number

 dozens of times and Ms. Alexander even emailed UKH a dispute letter. UKH’s internal records

 indicate that the employees with whom Ms. Alexander spoke understood that she disputed the

 amount of the debt.

        In December 2013, a UKH employee unilaterally removed the dispute indicator from Ms.

 Alexander’s account and in January placed her account for collection with CKMS. Ms. Alexander

 does not remember receiving any mail from CKMS; her only contact with them was over the

 phone, when CKMS called her. Ms. Alexander reiterated her dispute to CKMS employees but was

 always told her only option was to pay. Over the phone, CKMS employees never told Ms. Alex-

 ander her account was being transferred to DoR, even when asked about consequences of non-

 payment.

        Ms. Alexander discovered DoR’s collection powers when it garnished 100% of her bi-

 weekly paycheck. Before the garnishment, she believed her bill was not in active collection be-

 cause of her ongoing dispute with UKH. Fearful of continuing garnishment, Ms. Alexander suc-

 cumbed to DoR’s demands to enter a payment plan.

        Ms. Alexander never knew she had the right to a hearing on her dispute. If she had known

 of such a right, she would have exercised it.




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        Mary (Margaret) Baughman (SoF ¶¶ 280-304)

        In 2011, Mary Baughman, then age 60, received an echocardiogram, an endoscopy, and a

 colonoscopy from UKH providers. At the time, Ms. Baughman was disabled, uninsured, and un-

 employed. When her doctor recommended that she follow up the colonoscopy with a CT scan of

 her abdomen, Ms. Baughman explained that she was uninsured and inquired about the cost and

 necessity of the procedure. The provider did not give Ms. Baughman a cost figure but insisted she

 should have the procedure and that it wouldn’t be that much money; Ms. Baughman followed her

 doctor’s advice and consented to the scan. The CT scan was negative for abnormalities, but Ms.

 Baughman discovered that she now owed UKH nearly $3,000 for the procedure.

        UKH’s internal records show that after Ms. Baughman received the initial invoices, she

 communicated with UKH on several occasions about the Financial Assistance Program (FAP).

 The records also show that UKH knew that Ms. Baughman was disabled, uninsured, and unem-

 ployed at the time that she received the services at issue. And the records demonstrate that based

 on Ms. Baughman’s FAP application, UKH believed that she qualified for the program. Neverthe-

 less, UKH failed to apply the FAP discount to the charges, and the debt was eventually referred to

 CKMS for collection. Ms. Baughman received no notice that she thereby lost her right to Financial

 Assistance.

        When she began receiving threatening notices from DoR, Ms. Baughman contacted DoR

 to set up a payment plan but also put DoR on notice about her inability to pay the full amount. She

 also complained to DoR about being charged for an expensive and unnecessary procedure. DoR’s

 records show that DoR understood Ms. Baughman was disputing the debt. But DoR never gave

 Ms. Baughman any indication that she had a right to a hearing or an appeal; instead, they advised

 her that her only recourse was to send them a dispute letter that they would forward on to UKH.




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        Ms. Baughman never knew she had the right to a hearing on her dispute. If she had known

 of such a right, she would have exercised it.

        Robert Moody (SoF ¶¶ 251-264)

        Robert Moody had received treatment at UKH since his HIV diagnosis in 2001. Over the

 last two decades, most of Mr. Moody’s treatment has been covered by federal funds from the Ryan

 White HIV/AIDS program and UK’s FAP. Mr. Moody qualified for and received FAP from 2001

 to 2007; he also qualified for FAP from 2008 to 2009, but UKH failed to provide a renewal appli-

 cation in early 2008. In 2008, Mr. Moody realized he was no longer covered by FAP when he

 started receiving bills reflecting thousands of dollars in charges. It was not until September 15,

 2008 that UKH told Mr. Moody that he had needed to reapply for FAP as of January 1.

        While Mr. Moody was still cooperating with UKH’s FAP application process and disputing

 the charges with CKMS, UKH referred his debt to DoR for collection—without granting the FAP

 discount or issuing a FAP denial notice. Mr. Moody notified DoR about his dispute and managed

 to trigger CKMS’s internal review process on several occasions. However, as the Defendants’

 internal review policies contemplate, internal reviews always resulted in continuing collection. In

 2019, in order to get DoR to release a lien against his mother’s home, Mr. Moody was forced to

 enter a payment agreement with DoR on the 2008 debts.

        Mr. Moody never knew he had the right to a hearing on his dispute. If he had known of

 such a right, he would have exercised it.

        Randall Roach (SoF ¶¶ 265-279)

        Randall Roach had surgery and was hospitalized for three days at UKH after a shooting

 range accident in early 2019. Mr. Roach was uninsured at the time of the accident. He recalls filling

 out an FAP application during the hospitalization and a UKH employee telling him that he quali-

 fied for the program and would not have to pay for the services he was receiving.


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        UKH’s internal records support Mr. Roach’s recollection. After establishing that Mr.

 Roach would not qualify for Medicaid or the Medicaid spend-down program, the records show

 that he signed a FAP application and was advised to return his 2018 W-2 Form and proof of income

 for 2019. Mr. Roach provided his 2018 W-2 Form as instructed and even checked in on his appli-

 cation during a follow-up appointment. Mr. Roach was told by two different UKH employees that

 he would be covered by FAP and had no unpaid bills. But, without notifying Mr. Roach, UKH

 denied his FAP application and referred his debt to CKMS for further collection, cutting off his

 ability to appeal the FAP denial.

        Mr. Roach first learned that he owed UKH for the 2019 hospital stay when he received a

 bill from DoR for more than $73,000.00, which included interest and a $14,000+ DoR collection

 fee. When he contacted UKH about the DoR notice, the UK employee with whom he spoke told

 him for the first time that his FAP application had been denied and then advised him to “contact

 [the] collectors” even though the “collectors” (CKMS) could not and would not help him.

        Mr. Roach never knew he had a right to a hearing on his dispute. If he had known of such

 a right, he would have exercised it.

                                        LEGAL STANDARDS

 Summary Judgment Standards

        A party is entitled to summary judgment when there are no genuine issues of material fact

 and the movant is entitled to judgment as a matter of law. Johnson v. Econ. Dev. Corp., 241 F.3d

 501, 509 (6th Cir. 2001); Fed.R.Civ.P. 56(c). When determining a summary judgment motion, the

 Court must view the evidence and draw all reasonable inferences in the light most favorable to the

 non-moving party. Williams v. Int’l Paper Co., 227 F. 3d 706, 710 (6th Cir. 2000). Nevertheless,

 “[t]he moving party need not support its motion with evidence disproving the nonmoving party’s




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 claim, but need only show that there is an absence of evidence to support the nonmoving party’s

 case.” Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986).

        To defeat summary judgment, an asserted issue of fact must, in the language of the rule, be

 “genuine.” As this Court has held:

        A genuine dispute exists on a material fact, and thus summary judgment is im-
        proper, if the evidence shows that a reasonable jury could return a verdict for the
        nonmoving party. Stated otherwise, [t]he mere existence of a scintilla of evidence
        in support of the [nonmoving party]’s position will be insufficient; there must be
        evidence on which the jury could reasonably find for the [nonmoving party]. Cat-
        erpillar Fin’l Servs. Corp. v. Sunnytime Seeding & Landscaping, LLC, 2011 WL
        4834242, at *1 (E.D.Ky. Oct. 12, 2011) (citations and internal quotation marks
        omitted).

 Controlling Due Process Principles

        The Sixth Circuit enunciated the principle at the core of this case in Hamby v. Neel:

        It is well established that a possessory interest in property invokes procedural due
        process, which would require adequate notice and a meaningful hearing prior to
        any attempt to deprive the interest holder of that right. 368 F.3d at 560

 And “[i]t is equally fundamental that the right to notice and an opportunity to be heard ‘must be

 granted at a meaningful time and in a meaningful manner.’” Fuentes, 407 U.S. at 80; accord John-

 son v. City of Saginaw, 980 F.3d at 507. In declaring unconstitutional the notice provided ro Ken-

 tuckians facing eviction, the Supreme Court held:

        [When] arriving at the constitutional assessment, we look to the realities of the case
        before us: In determining the constitutionality of a procedure established by the
        State to provide notice in a particular class of cases, “its effect must be judged in
        the light of its practical application to the affairs of men as they are ordinarily con-
        ducted.” Greene v. Lindsey, 456 U.S. 444, 451 (1982) (citation omitted).

        Any procedures the government uses “must be tailored, in light of the decision to be made,

 to ‘the capacities and circumstances of those who are to be heard.’” Mathews v. Eldridge, 424 U.S.

 319, 349 (1973). This is not a matter of form but of substance: “When notice is a person’s due,

 process which is a mere gesture is not due process.” Mullane 339 U.S. at 315. The Constitution



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 requires notice that someone “desirous of actually informing the absentee might reasonably adopt

 to accomplish it.” Id.

        In this case, UKH’s patient-debtors had two distinct property interests at stake at two sep-

 arate moments in the Defendants’ collection processes. Ultimately, the property at stake for Plain-

 tiffs and the Class was the property DoR was able to seize, intercept, garnish, and encumber—

 Plaintiffs’ wages, state tax refunds, money in bank accounts, and real property. But Plaintiffs and

 the Class also had a “legitimate claim of entitlement” to the financial assistance available through

 UKH’s charitable care program, the Financial Assistance Program, discussed in Point II.C below.

 Defendants’ deprivation of each of these property interests throughout the 2009-2022 period trig-

 gered due process protection.

 The Role of Intent and of State Law

        A defendant’s intent is not an element of a procedural due process claim, and it is not here.

 A hearing either is or is not offered on the matters on which it must be offered; notice either is or

 is not adequate to apprise the person whose property is at risk of the right to contest the impending

 seizure. Likewise, a violation of state law relating to notice does not automatically create a due

 process violation. As set forth in detail below, a straightforward application of objective criteria to

 undisputed (or indisputable) facts shows that Defendants’ conduct here violated due process as a

 matter of federal constitutional law.

        But that does not mean that intent and state law are wholly irrelevant in this case. The state

 laws and regulations, for example, reflect the considered judgment of the Commonwealth of Ken-

 tucky as to what constituted providing “adequate information” to the debtor, and they can therefore

 be considered in evaluating whether, under all the circumstances, the notice was in fact sufficient.

 See, e.g., O’Neill v. City of Louisville/Jefferson Cty. Metro Gov’t, 662 F.3d 723, 734 (6th Cir.

 2011) (notice “lacked all the elements required by [state law] . . . and was not reasonably calculated


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 to apprise the O’Neills of the allegations against them or of the procedures available to present

 their objections”). Furthermore, intent can shed light on consequences. Just as a defendant’s pur-

 pose to deceive bears on whether statements are misleading, Risner v. Regal Marine Indus., 2013

 U.S.Dist. LEXIS 58690, at *46-47 (S.D.Ohio Apr. 24, 2013), and just as a trademark defendant’s

 intent to cause confusion bears on the likelihood that confusion will ensue, Daddy’s Junky Music

 Stores, Inc. v. Big Daddy’s Family Music Ctr., 109 F.3d 275, 286 (6th Cir. 1997), these Defend-

 ants’ clear intent not to let messy things like due process get in the way of their collection jugger-

 naut reinforces the objective determination, on the face of Defendants’ documents and procedures,

 that due process was, in fact, not satisfied.

           Plaintiffs and the Class reiterate that they are entitled to summary judgment without con-

 sidering issues of intent or issues of state law. But the evidence is there, it all goes in one direc-

 tion,13 and the Court may consider such evidence both for context and to resolve any doubts the

 Court may have on the dispositive federal issues.

                                                     ARGUMENT

                I.     UKH NEVER PROVIDED ADEQUATE NOTICE OF THE RIGHT TO A
                       HEARING TO CONTEST THE EXISTENCE OR AMOUNT OF ALLEGED
                       DEBTS SENT TO DOR FOR FORCED COLLECTION

               A.       Defendants Have Conceded That Their Procedures
                        Prior to June 2012 Did Not Comply With Due Process

           It is indisputable that Defendants’ procedures prior to June 2012 did not satisfy due process.

 The DoR never provided notice and a hearing, and in that timeframe neither did UKH. Mr. Craw-

 ford’s June 5, 2012 e-mail expressly acknowledged that due process had not been given up to that

 13
      Because intent is not an element of the due process claim, issues of fact as to Defendants’ intent (if any exist)
      would not preclude entry of summary judgment for Plaintiffs and the Class. It bears mentioning, however, that
      summary judgment on issues of intent, although rare, is appropriate where (as here), the evidence reflects an ab-
      sence of a genuine dispute on the issue. E.g., In re ClassicStar Mare Lease Litigation, 727 F.3d 473, 484-87 (6th
      Cir. 2013) (affirming summary judgment for plaintiffs on RICO claim; “the district court properly found that
      Defendants could not establish a genuine dispute regarding their intent to defraud”); Fifth Third Bank v. Gentile,
      2009 WL 10688745, at *6 (N.D.Ohio Apr. 24, 2009) (granting summary judgment to plaintiff on “actual intent to
      defraud” fraudulent conveyance claim).


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 point. Accordingly, the Class is entitled to summary judgment with respect to any debts sent to

 DoR for collection prior to June 2012.

            B.       Every Letter 8 Violated Hamby v. Neel Because It Did
                     Not Tell Debtors That the Proffered Hearing Was the
                     One and Only Chance to Avoid Asset Seizure

         No version of Letter 8 ever warned debtors that if they do not appeal now their assets will

 be subject to administrative levy without any right to a hearing whatsoever. A debtor would ordi-

 narily expect (and Plaintiff Moody did expect (Cplt. ¶ 141; see ECF #32-6 ¶ 1)) that a creditor

 could not seize assets without first suing and obtaining a judgment. The debtor would further ex-

 pect that s/he could, in that lawsuit, raise any defenses to the existence or amount of the debt that

 s/he had. As UKH’s 30(b)(6) witness admitted, no version of Letter 8 ever told debtors that if

 they do not appeal now they will forever forfeit the right to contest the debt (Deaton 30(b)(6)

 124:17-125:5). This failure is fatal to Defendants’ claims that they complied with due process and,

 by itself, established the underlying due process violation that is the predicate for the forward-

 looking structural relief sought by this motion.

         In Hamby v. Neel, Medicaid applicants received denial letters that did not inform them,

 inter alia, that:

         [I]f an appeal of a denied application was not pursued, applicants would be barred
         from a claim of benefits originating from the date of their initial applications; and
         . . . if applicants did submit new applications with new insurance denial letters, the
         second claim would cut off eligibility based on the first applications.

 368 F.3d at 560. The Sixth Circuit held that because “the denial notices did not advise the appli-

 cants of the consequences of not appealing and filing new applications,” the “Plaintiffs were given

 constitutionally inadequate notices in violation of procedural due process.” Id. at 561-62.

         Hamby is directly on point and controlling here. UKH patients were entitled to be told “the

 consequences of not appealing”—i.e., that the hearing offered in Letter 8 was the one and only



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 chance they would ever have to contest the existence or amount of the alleged debt. They were

 not. Accordingly, Plaintiffs and the Class here “were given constitutionally inadequate notices in

 violation of procedural due process,” and summary judgment on the issue of the underlying due

 process violation should be entered in their favor.

              C.       Letter 8 Was Affirmatively Misleading in What
                       It Did Say About Consequences

           In December 2018, Letter 8 was revised to include some information regarding the conse-

 quences of nonpayment of the debt and the possible means to enforce it. A proviso was added

 stating “any individual state income tax refund to which you are entitled could be withheld for

 setoff against this debt. You would receive written notice before that occurs.” (SoF ¶ 51) For sev-

 eral reasons, this addition was affirmatively misleading.

           First, notwithstanding Defendant Watts’s express admonition in November 2015, no ver-

 sion of Letter 8 mentioned the additional collection methods that DoR exercises against the patient,

 including wage garnishment and bank levy.14 That omission, particularly in combination with the

 affirmative mention of tax refund offsets, made all versions of Letter 8 after December 2018 af-

 firmatively misleading. People who were not expecting state tax refunds would think they had

 nothing to fear, and they would be very, very wrong.

           Second, the statement that “[y]ou would receive written notice before [tax offset] occurs”

 was, at best, misleading. DoR told debtors that their tax returns “may be” seized (Ex. 35), but as

 Defendant Watts admitted, it never told them when seizure was about to happen (Watts 111:20-

 112:6).




 14
      Neither UKH nor CKMS ever incorporated any warnings about garnishments or bank levies in any of their corre-
      spondence with UKH patients.


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        Third, the statement in Letter 8 implied patients could do something to protect themselves

 as a consequence of that “written notice,” whereas under Defendants’ scheme they could not. There

 were no hearings at the DoR level, and none at any level once a matter had been referred to DoR.

        Finally, the reference to “written notice” was additionally misleading because patients who

 investigated the regulations governing these procedures would learn that under K.R.S. § 131.570,

 they were not merely entitled to notice before offset of a tax refund; they were also entitled to a

 hearing before the claimant agency (here, UKH) to contest the debt to which the offset is applied.

 The patient would likewise learn that under K.R.S. § 131.595, the procedures set forth in K.R.S.

 § 131.560 to .595, including the notice/hearing procedure set forth in K.R.S. § 131.570, are the

 exclusive vehicle for applying state tax refunds to agency debts (Watts 111:16-113:21). A patient

 who drew that conclusion, however, would be bitterly disappointed, because DoR was taking the

 convoluted position (Ex. 129) that a statute that has never been repealed, and states it is exclusive,

 does not apply to the precise subject matter it addresses. Whether DoR’s verbal gymnastics could,

 if challenged, survive as a matter of Kentucky law does not matter from a due process standpoint.

 What matters is that, since December 2018, UKH’s Letter 8 said things that were not true and that

 would lead a patient/debtors to believe they had remedies that DoR did not in fact provide.

            II.       UKH VIOLATED DUE PROCESS BY PROHIBITING OR
                      APPEARING TO PROHIBIT HEARINGS ON SOME OF THE MOST
                      COMMON GROUNDS ON WHICH MEDICAL DEBTS ARE
                      CONTESTED

        The scope of the hearings UKH was required to hold to comply with due process is not a

 matter of dispute. UKH’s Rule 30(b)(6) witness testified as follows:

                  Q    With respect to your authority [as UK’s Hearing Officer], you under-
                       stood, did you not, that a debtor could raise anything in the hearing that
                       they might defend [a]n action on the debt for?
                          A   Correct. (Deaton 30(b)(6) 67:22-68:1)



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 As noted above, however, since 2015 Letter 8 contained the following proviso:

             NOTE: Hearings will not be granted on the grounds of inability to pay or dissatis-
             faction with medical care. (Ex. 23 (2015); Ex. 24 (current))

 For two separate reasons, that proviso denied Class Members due process.

               A.       Because Quality-of-Care Issues Are Bases on Which to
                        Adjust Medical Bills, the Failure to Offer or Hold
                        Hearings on Such Issues Violated Due Process

             UKH’s refusal to provide hearings on one of the most fundamental, most commonly con-

 tested issues relating to medical bills—complaints about the quality of the care for which the pa-

 tient was billed—was both a failure of notice15 and a separate basis on which Class Members who

 were denied a hearing on care issues suffered a taking of their property without due process.16

             It is stipulated that care issues can be bases on which to obtain adjustment of a medical

 bill. UKH’s Risk Management Department routinely considered and acted on such requests:

         •       Christie Young, R.N., reviewed cases referred by billing or Customer Service (in-
                 cluding, where applicable, by CKMS) that raised care issues in connection with a
                 billing, and she relayed her findings to the Director of Risk Management, Marga-
                 ret Pisacano, who made decisions on behalf of the University of Kentucky as to
                 whether to make a “risk management adjustment” to a patient bill.
         •       Sometimes Ms. Young, at the direction of the Director of Risk Management, in-
                 structed billing to make such an adjustment, and sometimes she did not.
         •       Ms. Young had authority to decline to recommend a risk management adjustment
                 without referring the matter to Ms. Pisacano when Ms. Young determined that a
                 risk management review was not warranted, and she did so on a number of occa-
                 sions.
         •       The basis for Risk Management’s decision in each instance was whether it be-
                 lieved the referred matter implicated a patient care issue, and if so, its assessment
                 of the patient care issue in that case. (Ex. 67)

 So far, this was not necessarily a due process problem. But it is also stipulated that:




 15
      That is, Letter 8 states that hearing will not be given when, in fact, a hearing is constitutionally required.
 16
      That there are such Class Members is clear. (SoF ¶ 174)


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         •       For billing purposes, Risk Management’s decision concerning whether to instruct
                 billing to make a risk management adjustment was final and, in UKH’s view, was
                 not subject to review by appeal/hearing. (Id.)

 That was a due process problem—indeed, a flat-out due process violation. It was not for UKH to

 make unilateral decisions as to what issues “deserve” a hearing. As the Supreme Court held in

 Fuentes:

             If it were shown at a hearing that the appellants had defaulted on their contractual
             obligations, it might well be that the sellers of the goods would be entitled to repos-
             session. But even assuming that the appellants had fallen behind in their installment
             payments, and that they had no other valid defenses, that is immaterial here. The
             right to be heard does not depend upon an advance showing that one will surely
             prevail at the hearing. “To one who protests against the taking of his property with-
             out due process of law, it is no answer to say that in his particular case due process
             of law would have led to the same result because he had no adequate defense upon
             the merits.” It is enough to invoke the procedural safeguards of the Fourteenth
             Amendment that a significant property interest is at stake, whatever the ultimate
             outcome of a hearing on the contractual right to continued possession. 407 U.S. at
             87 (quoting Coe v. Armour Fertilizer Works, 237 U.S. 413, 424 (1915)).

             Because Letter 8 denied the right to a hearing where one was constitutionally required, it

 was not adequate notice for due process purposes.

                B.      Letter 8’s Denial of Hearings for “Inability to Pay”
                        Was Misleading Because It Could Be Understood as
                        Precluding Hearings on Wrongful Denials of
                        Financial Assistance

             Although UKH nominally did permit hearings contesting a medical bill on the basis of

 wrongful denial of financial assistance, and on at least some occasions recognized that claims for

 wrongful denial were appropriate subjects for such a hearing,17 Letter 8 is couched in terms that

 appear to deny such right. The single most likely person who will have an “inability to pay” a

 medical bill is one who was eligible for financial assistance but, for some reason, did not receive



 17
      There are several examples of such hearings in the record (SoF ¶¶ 150-154). Even here, however, UKH has ad-
      mitted that it frequently refused to permit a hearing when—in its own, unilateral determination—it concluded that
      the denial of financial assistance was correct. (Deaton 30(b)(6) 96:22-98:3) Under Fuentes, that violated due pro-
      cess.


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 it. Such a person, when told s/he has no right to hearing on “inability to pay,” could easily conclude

 that s/he was barred from asserting that the inability was due to a wrongful denial of financial

 assistance. Notices that do not adequately describe the remedies available to the person whose

 property is being taken do not satisfy due process. Memphis Light, Gas & Water Div’n v. Craft,

 436 U.S. 1, 13-16 (1978). Here, the notice affirmatively misdescribed the remedy by denying the

 possibility of a hearing when one was at least potentially (and constitutionally must have been)

 available.

              C.    The Denial of Hearings for Inability to Pay Was
                    Compounded By the Separate, Constitutionally
                    Impermissible Denial of Notice and a Hearing at the
                    Time Financial Assistance Is Denied

                    1.      UKH’s Financial Assistance Program Is an “Entitlement,”
                            and Denial Thus Triggers Due Process Protections

        The threshold question in Hamby v. Neel was whether those plaintiffs had a “legitimate

 claim of entitlement” with respect to Tennessee’s Medicaid program (Tenncare) “such that due

 process requirements are invoked.” Quoting Board of Regents v. Roth, 408 U.S. 564 (1972), the

 Hamby court recognized:

        Property interests, of course, are not created by the Constitution. Rather they are
        created and their dimensions are defined by existing rules or understandings that
        stem from an independent source such as state law—rules or understandings that
        secure certain benefits and that support claims of entitlement to those benefits. 368
        F.3d at 557.

 A person need not be already receiving benefits to have a property interest protected by the Four-

 teenth Amendment. “[T]his Court has previously held that a social security claimant has a property

 interest in benefits for which he or she hopes to qualify.” Id. at 559 (citing Flatford v. Chater, 93

 F.3d 1296, 1304 (6th Cir. 1996)). That is, states must use fundamentally fair processes when de-

 termining a person’s eligibility for a benefit.




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           The financial assistance available to UKH’s patients under its Financial Assistance Pro-

 gram is an entitlement, not a mere unilateral expectation. The program is operated on an integrated

 basis with the Medicaid Disproportionate Share Hospital (“DSH”) program (SoF ¶¶ 128-131), and

 the program’s policies and procedures are “existing rules” from “an independent source . . . that

 secure certain benefits and that support claims of entitlement to those benefits.” Roth at 576. Of

 necessity, UKH has admitted that FAP is an entitlement:

                    Q    Would you agree that the basic eligibility requirements for FAP are that
                         you meet the qualification requirements that we saw on page 48 here,
                         and that your household income level needs to be at a certain level rel-
                         ative to the [federal poverty level]?
                             A    Yes.
                    Q    So an uninsured patient who meets those requirements and submits all
                         of the required proof of their income, residency, et cetera, is entitled to
                         receive financial assistance, correct?
                                     A        [Objection]
                             A    Yes, if it’s a -- if it’s a procedure that’s not exempt from the
                                  policy. (Thies FAP 30(b)(6) 84:7-19; see also id. 86:7-17 (un-
                                  derinsured patients)).

 If UKH approves a patient for financial assistance, the financial assistance will apply to all of the

 patient’s active accounts and any qualifying UK medical bills that the patient may incur over the

 next six months (id. 141:21-142:15).

                        2.       UKH Violated Due Process Because It Did Not Offer
                                 Patients a Hearing at the Time FAP Was Denied

           UKH denied financial assistance in one of two ways: UKH could send the patient an actual

 denial letter, or it could simply send the debt to CKMS, which by the terms of the program auto-

 matically terminated the right to financial assistance.18 In neither event did UKH offer the patient

 a hearing at the time of denial, and it therefore violated due process.

 18
      Patients who receive care from UKH have a right to apply for financial assistance until UK refers the patient’s
      account to a third party for collections, and UKH considers CKMS to be a third-party debt collector for purposes
      of UKH’s financial assistance policy (SoF ¶¶ 119-120), so once UKH refers a patient’s account to CKMS, the
      patient is no longer eligible to apply for financial assistance on that account. (Thies FAP 30(b)(6) 35:5-9)


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           Until at least August 2020, the FAP application form stated in small print on the last page

 of the application that the patient “may request a fair hearing regarding denial of financial assis-

 tance (DSH) within 30 days of determination” The only reference to a right to a hearing on the

 denial of financial assistance is on the financial assistance application form. (SoF ¶¶ 124-125).19

           At the time UKH denied a patient’s financial assistance application, UKH did not notify

 the patient that they had a right to a hearing to appeal the denial (SoF ¶ 127) Nor was there a UKH

 policy available to patients that informs them of their right to appeal a denial (Thies FAP 30(b)(6)

 23:21-24, 24:11-19). UKH’s FAP denial letters made no mention of rights to appeal or a hearing

 even though the FAP program was run on an integrated basis with the DSH program (SoF ¶ 131),

 and there is a state-mandated denial form for the DSH program (DSH-001) that gives the patient

 separate, clear, and explicit instructions on how to appeal (SoF ¶ 133). Here, too, UKH chose

 simply to ignore a state-law requirement relating to notice.

           The most common reasons for UKH’s denials of financial assistance were that the patient

 did not supply sufficient proof of household income, did not submit a Medicaid determination

 letter, or submitted an insufficient letter (SoF ¶¶ 144-145).20 Each of these situations is one in

 which UKH and its patient could easily have different views as to whether the patient was wrong-

 fully denied financial assistance and why—questions that are plainly appropriate for resolution by

 a hearing. In spite of this, UKH has never told the patients to whom it denied financial assistance

 that they had the right to appeal that eligibility determination. No patient ever requested such a

 hearing, and UKH never held one (SoF ¶135).

      None of the medical bills that UKH sent to the patient disclosed that the patient would lose the right to apply for
      and receive financial assistance once UKH referred the patient’s account to a third-party debt collector. (SoF
      ¶ 123). UKH did occasionally allow patients to apply for financial assistance after it had referred the debt to a
      third-party debt collector, but only at UKH’s exclusive discretion. (Thies FAP 30(b)(6) 35:10-36:18, 38:1-19).
 19
      However, the most recent iteration of the FAP application, revised in August 2021, makes no reference whatsoever
      to the patient’s right to a hearing of any kind (SoF ¶ 126).
 20
      In some instances, UKH would unilaterally decide that an income-qualifying patient’s medical services do not
      qualify for financial assistance before the patient even has a chance to apply (SoF ¶¶ 137-143).


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         UKH’s failure to provide due process to patients who apply for financial assistance could

 mean wrongful denial of a benefit worth thousands, sometimes tens or hundreds of thousands, of

 dollars. For some patients, qualifying for financial assistance might be the only thing standing

 between them and financial ruin.

            III.   LETTER 8 WAS NOT DELIVERED IN A “MEANINGFUL MANNER”
                   AND THUS DID NOT SATISFY DUE PROCESS

         Letter 8 was not the first dunning letter a patient is sent by UKH’s debt collector, CKMS.

 It was not, in general, either the second or third. On average, a patient would have been sent five

 previous letters from CKMS before being sent a Letter 8 (SoF ¶ 59). Some were sent many more—

 Plaintiff Metts, for example, was sent more than 30 letters before being sent Letter 8 (id; Ex. 27).

 All of these letters were sent in the same plain, white envelope. All of them were at serious risk of

 being discarded as junk mail, without ever being opened, let alone read. Under the undisputed

 expert testimony in this matter, Letter 8 was not delivered in a “meaningful manner” and thus did

 not satisfy due process.

            A.      Letter 8 Was Unlikely to Be Opened, Unlikely to Be Read
                    if Opened, and Unlikely to Be Understood if Read

         We live in a world of junk mail. When a document being sent in the mail can affect legal

 rights, it is important for the sender to take steps to ensure the greatest possible likelihood that the

 envelope will be opened and the document read and understood. That is the only way to meet the

 standard set forth in Mullane, 339 U.S. at 315 (emphasis added):

         [W]hen notice is a person’s due, process which is a mere gesture is not due process.
         The means employed must be such as one desirous of actually informing the ab-
         sentee might reasonably adopt to accomplish it.




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 As the Federal Judicial Center has pointed out in the directly analogous context of damages class

 action notices (highlighting added):21




 Available at https://www.fjc.gov/sites/default/files/2012/NotCheck.pdf (the “Bench Guide”).

           Here, Letter 8 came at the end of a long sequence of dunning letters, and it (or, since 2018,

 also Letter 83, which came one letter earlier) was the only mention of a right to hearing a patient/

 debtor receives. Under the undisputed expert testimony in this action, however, if one actually

 wants to communicate important information, one puts it in the first letter. (Ex. 29 at 5, 7. 14). And

 DoR concurs: its regulation on what “agencies” such as UKH must do in order to make their debts

 eligible for forced collections includes a requirement that the agency’s initial invoice contain “in-

 structions regarding the appeal process.” 103 K.A.R. 1:070 § 2(3)(b)(4).22 UKH never complied

 with that requirement, notwithstanding being formally told by Defendant Watts, that it must. Ms.


 21
      In a class action for money damages under Fed.R.Civ.P. 23(b)(3), notice and an opportunity to opt out are required
      as a matter of due process, Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 363 (2011); Phillips Petroleum Co. v.
      Shutts, 472 U.S. 797, 812 (1985), so discussions of adequacy of notice in that context are directly relevant here.
 22
      The language of the regulation does not refer to “initial invoice” but rather to an invoice that must be mailed within
      five working days after the debt becomes due (which plainly is the “initial invoice” for that debt), 103 K.A.R.
      1:070 § 2(2), and a later subsection makes it clear that § 2(3)(b)(4) is in fact referring to the agency’s “original
      invoice,” see § 2(7). Defendant Watts’s November 24, 2015 letter to UKH (and other agencies), discussed in text,
      expressly refers to the requirement as pertaining to the agency’s “initial invoice.”


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 Watts told UKH what a person “desirous of actually informing” its patients about appeal rights

 would do, and UKH affirmatively chose not to do it.23

             Returning to the content and manner of delivery of Letter 8, and as set forth in Plaintiffs’

 expert’s report:

         •       Letter 8 came in the same plain, white envelope in which CKMS’s previous mis-
                 sives had come (Ex. 29 at 4-7), without any “teaser” language on the outside of
                 the envelope informing the recipient that information that could affect their legal
                 rights lurks inside (id. at 6-7). A recipient would be unlikely to believe that there
                 was anything new or important in the letter and could just throw it away.
         •       Letter 8 is printed in tiny (9 point) type (SoF ¶ 33; Ex. 29 at 10-11), which is 3
                 full points below the recommended 12-point minimum for comprehension;24
         •       Letter 8 does not contain “trust-building” material (such as the blue UK logo) that
                 would persuade recipients it is not a scam (Ex. 29 at 8-10); and
         •       the hearing language is not only in the generally unread “dead zone” in the middle
                 of the letter (id. at 13) but is in fact sandwiched between separate provisions at
                 the beginning and end of the letter that both make it clear that the purpose of the
                 letter is debt collection:
                 •       Thus, the letter opens with, “You have been given every opportunity to
                         pay your account or contact this office to make other arrangements,”
                         which UK’s 30(b)(6) witness agreed was debt collection language (Dea-
                         ton 30(b)(6) 78:23-79:2); and
                 •       The letter ends with, “This communication is from a debt collector, and
                         this is an attempt to collect a debt, and any information obtained will be
                         used for that purpose”—a provision that, UKH’s witness agreed, states
                         “the purpose of the notification.” (Deaton 30(b)(6) 23:1-13)25

 23
      At her deposition Ms. Watts was “surprised” to learn of UKH’s noncompliance (Watts 130:13-131:1), but perhaps
      she should not have been. It is typical behavior of UKH and DoR that DoR’s Stephen Crawford had told UKH’s
      Marcy Deaton that “This isn’t really for you. You guys are okay. It’s for our other partners.” (Deaton 30(b)(6)
      107:18-23). Ms. Watts testified that Mr. Crawford had no business saying such a thing (Watts 131:13-132:14).
      Her November 2015 letter applied to all of DoR’s agency partners, including UKH (Watts 130:8-12).
 24
      Once upon a time (before 2012), a version of Letter 8 was captioned “NOTIFICATION” in 12-point bold solid
      caps, but UKH quickly put an end to that (SoF ¶ 33).
 25
      The closing language also reinforces the lack of “trust-building” language in the letter (Deaton 30(b)(6) 86:4-10):
                     Q And one of the things you’re doing in the hearing -- in the hearing notice in paragraphs
                         1 through 5 is asking people for information, correct?
                             A     Correct.
                     Q    So you’re telling them that that information will be used for debt collection purposes,
                          correct?
                             A     Correct.



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 Putting all this together, Plaintiffs’ direct mail expert, Nicholas Ellinger, concluded that it is “un-

 likely that [Letter 8] would be opened; if opened, unlikely the ‘hearing’ section would be read; and

 if read, unlikely the ‘hearing’ section would be comprehended” (Ex. 29 at 1). Mr. Ellinger sum-

 marized his findings as follows:

           The techniques that one would use to get letter recipients to open, read, and under-
           stand their hearing rights include:
                 •      Putting appeal information in the first letter, which is the most likely to
                        be read. That way, several letters worth of people won’t have stopped
                        reading or opening letters before they knew they had this option.
                 •      Putting appeal information in every letter.
                 •      Using different outer envelope/teaser techniques to get follow-up letters
                        opened and read.
                 •      Building trust with the letter recipient, especially vital when asking for
                        money and medical information.
                 •      Using a font size accessible by all, or even most, members of society for
                        the appeal language.
                 •      Highlighting the ability to appeal in a letter opening, P.S., or emphasized
                        font instead of putting it in a reading Dead Zone.
           CKMS used none of these techniques. (Id. at 14)

           As the Federal Judicial Center pointed out in the Bench Guide excerpted above, “[w]ith

 ‘junk mail’ on the rise, . . . legal notices must stand out with design features long known to com-

 munications pros.” One such “design feature” is a “teaser” (or, as the FJC says, a “call-out”)—a

 message on the outside of the envelope that persuades the recipient to open the envelope and read

 the material inside. The FJC says, “‘Call-outs’ on the front and back encourage the recipient to

 open and read the notice when it arrives with other mail” (Bench Guide at 10). The envelope the

 FJC suggest for securities class action notices26 has two teasers, front and back, as follows:



      So to the extent patients actually opened the envelope and read the part of Letter 8 that offers a hearing, they would
      learn that although they may be entitled to a hearing, the information they provide if they ask for one would be
      used by UKH to continue to chase them for collection.
 26
      Available at https://www.fjc.gov/sites/default/files/2015/ClaAct03.pdf.


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        Front




        Back




 It was not that UKH could not have put an effective teaser or call-out on the envelopes containing

 Letter 8. UKH has admitted that it could, without violating any provision of the Fair Debt Collec-

 tion Practices Act and without violating any other provision of law, send notices of hearing rights

 to persons asserted to owe medical debt to UKH in an envelope:

             •     with the UK logo and return address in the upper left corner, and
             •     with a conspicuous message on the exterior of the envelope stating
                   “IMPORTANT LEGAL NOTICE. YOUR LEGAL RIGHTS MAY
                   BE AFFECTED.” (SoF ¶ 68)

 Once again, UKH simply chose a path that resulted in less notice, less effectively, to fewer people.

        The difference between how UKH sent Letter 8 and how DoR sent its notice and seizure

 letters is stark. Letter 8 was sent in a plain, white envelope and looked like every other letter


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 received from the debt collector; as discussed, many people do not open such letters. The DoR

 letters, in contrast, were sent certified mail, and pretty much everyone is going to open a certified

 letter, particularly if the return address is a government agency. It is no surprise, therefore, that at

 least 500 people did not respond to Letter 8 but contacted DoR with a dispute promptly on receipt

 of DoR’s certified letter (SoF ¶ 67). DoR’s letters were sent in a manner that would be used by

 someone “desirous” of having the communication received and read, and its letters were opened

 and read. Unfortunately, by the time an account was at DoR, it was too late: no hearings; just

 collection. Since hearings, in Defendants’ view, could happen only at the UKH level, it was UKH

 that was required to send a notice that was designed to be opened, read, and understood. And it

 never did.

           More than 63,000 Letter 8s since 2012; only 65 hearing requests; only 17 hearings—and

 only one hearing since January 1, 2017. The numbers speak for themselves. The manner in which

 Letter 8 was delivered was constitutionally insufficient.

               B.       Letter 83 Did Not Solve the Notice Problem

           As set forth above, beginning in 2018 UKH added hearing language to Letter 83, the “we

 haven’t heard from you” letter that went out immediately prior to Letter 8.27 Like Letter 8, Letter

 83 did not tell people that the proffered hearing was their one and only chance to avoid forced

 collection; indeed, it did not mention DoR at all. Like Letter 8, Letter 83 contained the improper

 disclaimer of hearing rights for care issues or inability to pay. Accordingly, Letter 83 did not solve

 the substantive notice problems of Letter 8 addressed in Points I and II above.

           And although the manner of delivery of Letter 83 was somewhat better than that of Let-

 ter 8—it was in 12-point type, not 9-point, and it arrived one letter earlier in the process—it was


 27
      Because Letter 83 did not contain hearing language prior to 2018, it does not affect the claims of any Class Member
      who was referred to DoR prior to then.


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 still not nearly good enough. It still arrived in the same plain, white, no-teaser envelope that all of

 CKMS’s mail did, and the hearing language was still bracketed by announcements that the purpose

 of the letter was debt collection. Mr. Ellinger reviewed Letter 83 and concluded (Ex. 30) that “the

 letter is still less likely to be opened than it could be” and that “[o]ther than font size, the challenges

 in getting the letter read also are consistent with those identified in my earlier report,” so that,

 “except for font size, my original analysis still holds”.

             IV.      THAT SOME PLAINTIFFS AND CLASS MEMBERS ENTERED
                      INTO PAYMENT PLANS WITH DOR DID NOT VITIATE THE
                      DUE PROCESS VIOLATION

         After their accounts were sent off to DoR and they were told that they had no right to

 contest their asserted medical debt, some patient-debtors, including some Plaintiffs, entered into

 payment plans with the Department of Revenue. It was, they were told, the only way to avoid

 seizure of assets.

         Defendants have asserted that entry into a payment plan constituted a waiver and that the

 “voluntary” payment plan negated any deprivation of property. Neither argument holds water.

            A.        Entry Into a Payment Plan Did Not Waive
                      The Right to Notice and a Hearing

         State actors have been arguing that debtors facing asset seizure have contractually waived

 the right to pre-seizure notice and a hearing for a long time. Courts have rejected those arguments

 for just as long—at least as far back as Fuentes itself. In Fuentes, the creditors claiming the right

 to repossess debtors’ property pointed to the underlying conditional sales agreement as a basis for

 asserting that the debtors had “waived their basic procedural due process rights.” 407 U.S. at 94.

 In rejecting that argument, the Supreme Court noted that (as is plainly also true here) “[t]here was

 no bargaining over contractual terms between the parties who, in any event, were far from equal

 in bargaining power.” Id. at 95. It then went on to hold that “a waiver of constitutional rights in



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 any context must, at the very least, be clear,” id. (emphasis in original), and it held that “[w]e need

 not concern ourselves with the involuntariness or unintelligence of a waiver when the contractual

 language relied upon does not, on its face, even amount to a waiver,” id.

           The same is true here. There was simply no language in DoR’s form payment plan that

 could be construed as a waiver of constitutional rights. There is a waiver in the form, but it is a

 waiver of laches and the statute of limitations, not of procedural due process protections. (SoF

 ¶ 107) Accordingly, entry into payment plans with DoR by some Plaintiffs and some members of

 the Class did not waive their due process rights or their claims that Defendants violated those

 rights.

             B.      Plaintiffs’ and Class Members’ Entry Into Payment
                     Plans Was Inherently Involuntary and Coerced

           Fuentes further held that a waiver must be “‘voluntarily, intelligently, and knowingly’

 made,” 407 U.S. at 95 (quoting D.H. Overmyer Co. v. Frick Co., 405 U.S. 174, 187 (1972)). So,

 too, Defendants’ argument here that there has been no taking of property depends on the asserted

 “voluntary” nature of the payment plan. But entry into payment plans by Plaintiffs and Class Mem-

 bers was not voluntary; it was coerced. It was inherently involuntary.

           As noted above, the first communication debtors got from DoR was a notice that their

 assets are subject to seizure if they do not immediately pay the asserted debt in full. The letter did

 not mention payment plans, but when patients called DoR they were told that was their only way

 to avoid either paying in full immediately or having their assets seized (SoF ¶¶ 96-100). The initial

 letter was followed up by a “Final Notice Before Seizure” (e.g., Ex. 36), which said basically the

 same thing, only in solid capital letters. Defendant Watts’s conclusory assertion that “We don’t

 twist their arm” (Watts 52:1-12) is belied by the content of DoR’s own letters.




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        And the coercion described above—not only as to Plaintiffs Alexander and Moody but as

 was inherent in DoR’s letters and procedures—played out in the face of what Plaintiffs and the

 Class have shown above were ongoing violations of their rights to due process of law. It is not new

 law that an agreement obtained by the government through threats that the relevant government

 officials had no right to make is no agreement at all. United States v. Tingey, 30 U.S. 115, 129–30

 (1831). Choices made by the party facing the government in such circumstances are not “volun-

 tary” and do not defeat the claim against the governmental conduct. Waskul v. Washtenaw Cty.

 Comm. Mental Health, 979 F.3d 426, 451-52 (6th Cir. 2020). The issue is whether the party op-

 posing the government has a “reasonable alternative,” to acquiescing, see Restatement (Second) of

 Contracts § 175(1) (“If a party’s manifestation of assent is induced by an improper threat by the

 other party that leaves the victim no reasonable alternative, the contract is voidable by the vic-

 tim.”), and the alternative of refusing to comply and then suing is not in general a “reasonable”

 one where, as here, “the threat involves . . . seizure of property,” id. cmt. b. That is all the more

 true here, because the government officials themselves told UKH’s patients that they had no

 remedy and they had no choice. DoR’s conduct here was inherently coercive and vitiated consent

 as a matter of law.

        And there was a taking of property, both because the payments were not voluntary (and

 thus were “deprivations”) and because of the omnipresent threat that if there was ever a default,

 the debtor would go back on forced collections—without any opportunity to contest the underlying

 debt. That threat was not chimerical; it was very, very real. From 2016 to 2019, an average of

 3,100 debtors a year went from payment plans back to forced collections (SoF ¶¶ 175-182). This

 is a per se violation of Fuentes v. Shevin. Even if it was unlikely that the patient-debtor had de-

 fenses to payment, Fuentes teaches that a hearing must still be offered before assets are seized.




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 407 U.S. 87 (“The right to be heard does not depend on an advance showing that one will surely

 prevail at the hearing.”).28

                V.     THE APPROPRIATE RELIEF

           Plaintiffs and the Class seek declaratory and injunctive relief from this Court. Thus, “the

 precise remedy is left to the discretion of the trial court acting under traditional equitable princi-

 ples.” E.g., Alexander v. Machinists & Aerospace Workers, 565 F.2d 1364, 1382 n.4 (6th Cir.

 1977). “[F]ederal-court decrees must directly address and relate to the constitutional violation it-

 self,” but the Court may appropriately enter a remedy for a constitutional violation that “is tailored

 to cure the ‘condition that offends the Constitution.’” Milliken v. Bradley, 433 U.S. 267, 281–82

 (1977).

               A.       Plaintiffs and the Class Are Entitled to Declaratory
                        Relief that “Eradicates” the Ongoing Effects of
                        Defendants’ Due Process Violations

           Here, although Defendants have ceased their active due process violations, the conse-

 quences of those violations are still being felt—or, more precisely, will be felt if UKH ever deter-

 mines to sue Plaintiffs and/or Class Members on the debt it still says they owe. In these circum-

 stances it is settled law that Plaintiffs and the Class are entitled to relief, because the consequences

 of the constitutional violations have not been “completely and irrevocably eradicated.” Cleveland

 Branch, N.A.A.C.P v. City of Parma, 263 F.3d 513, 532-33 (6th Cir. 2001) (effects not eradicated);

 accord, e.g., Olu-Cole v. E.L. Haynes Public Charter School, 930 F.3d 519, 531 (D.C.Cir. 2019)

 (plaintiff entitled to seek relief from “distinct and concrete consequences that continue to run from”

 expulsion from school, notwithstanding claim of mootness by readmission); Norman-Bloodsaw v.


 28
      In the Original MSJ, Plaintiffs and the Class also argued that hearings at this stage were required under the bal-
      ancing test of Mathews v. Eldridge, 424 U.S. 319 (1973) (ECF#92-3, PageID1671-77). Because the claims against
      DoR are now moot, that argument is omitted here. For purposes of the structural relief sought on this motion, it is
      enough that that per se Fuentes violation reinforces the original involuntary nature of the entry into the payment
      plan and, thus, the ongoing effects of the overall due process violations.


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 Lawrence Berkeley Laboratory, 135 F.3d 1260, 1275 (9th Cir. 1998);29 Connell v. Shoemaker, 555

 F.2d 483, 486-87 (5th Cir. 1977) (declaratory relief available as to “practical consequences” of

 denial of due process, notwithstanding that injunctive claim was moot); Adams v. Duncan, 179 F.

 Supp.3d 632, 644-46 (S.D.W.Va. 2016) (relief available in ongoing dispute as to whether amount

 of refund was calculated correctly when loan was cancelled); Center for Food Safety v. Salazar,

 900 F.Supp.2d 1, 5-7 (D.D.C. 2012) (relief available to ameliorate “ongoing effects” of discon-

 tinued practice); Chavez v. Northwest Collectors, Inc., 1985 WL 3085, at *2 (N.D.Ill. Oct. 11,

 1985) (debt collection case; “[i]njunctive relief may be necessary to remedy the lingering, ancillary

 effect of defendant’s [unlawful] practices”)

           There are three specific ongoing effects of the due process violations from which Plaintiffs

 and the Class seek relief:

           1.       The balance allegedly due is inflated by the allocation of 20% of all prior pay-

 ments to the DoR “fee.” Plaintiffs and the Class were deprived of full credit for the amounts they

 paid. As set forth above, Plaintiff Alexander paid a total of $20,191.45 to DoR, but the principal

 amount of her debt was only reduced by $16,153.16. Each of the members of the Class who made

 payments to DoR (whether under payment plans, garnishments, or levies) suffered a parallel loss.

           But because of the due process violations, Plaintiffs and the members of the Class were

 never appropriately subject to DoR’s collection methods—including the 25% fee. Further, because

 no version of Letter 8 disclosed that a fee would be imposed on referral, there was a separate

 violation of Hamby v. Neel specifically with respect to the fee. For both these reasons, DoR’s


 29
      In Norman-Bloodsaw, the Court held:
          “Even if the continued storage, against plaintiffs’ wishes, of intimate medical information that was
          allegedly taken from them by unconstitutional means does not itself constitute a violation of law, it is
          clearly an ongoing “effect” of the allegedly unconstitutional and discriminatory testing, and expunge-
          ment of the test results would be an appropriate remedy for the alleged violation.” (Emphasis in orig-
          inal)


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 allocation of 20% of each payment to the “fee,” instead of applying the full amount of each pay-

 ment to the principal amount of the alleged debt, cannot stand going forward.

        (a)        Plaintiff Alexander is entitled to a declaratory judgment that, if UKH sues her
                   for the alleged remaining balance, it must give her full credit for all amounts
                   paid to DoR.
        (b)        The remaining Named Plaintiffs, and the Class, are entitled to a similar declar-
                   atory judgment.

        2.         The coerced recital in the DoR payment plans that “By executing the payment

 agreement you have acknowledged that the debts are due and owing.” Because the payment

 plans were coerced, this acknowledgment cannot have any effect on any future collection efforts.

 Plaintiffs and the Class are entitled to a declaratory judgment so stating, lest UKH attempt to lev-

 erage its past due process violations into future evidentiary benefit if it sues on the alleged debts.

        3.         Wrongful denials of financial assistance. For two reasons, Class Members who

 were wrongfully denied financial assistance (as Plaintiffs Roach, Baughman, and Moody were)

 are entitled to be told that they may raise that wrongful denial as a defense if UKH sues them on

 their alleged debt. First, UKH never afforded them the constitutionally required opportunity to

 contest the denial of that entitlement and, second, from 2018 forward UKH misleadingly told them

 that “inability to pay” was not a basis for contesting the debt, even if that inability derived from a

 wrongful denial of financial assistance. Accordingly, Plaintiffs and the Class are entitled to a dec-

 laration that they may defend any collection action on the basis of a wrongful denial of financial

 assistance.

              B.      The Declaratory Relief Requested is Entirely
                      Prospective and Thus Permissible Under the
                      Eleventh Amendment

        Plaintiffs and the Class hereby incorporate by reference Point II of their opposition to

 UKH’s Motion to Dismiss.




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               C.       Ancillary to the Declaratory Relief, Plaintiffs and the
                        Class are Entitled to an Injunction Preventing UKH
                        from Taking Unfair Advantage of Them in Any Future
                        Collection Action

           Ancillary to these three forms of declaratory relief, Plaintiffs and the Class are entitled to

 an injunction to ensure that this Court’s declarations do not become nugatory. It has been a regret-

 tably common practice for creditors pursuing unsophisticated debtors to ignore the debtors’ actual

 or potential defenses and simply sue on the debt. Statute of limitations? No problem; it’s an af-

 firmative defense, waived unless asserted. Ditto discharge in bankruptcy. Ditto settlement and re-

 lease.30 To prevent this and similar behavior, the Court should enter an injunction requiring that,

 as a prerequisite to initiating suit on the alleged debt, UKH provide the alleged debtor with a sim-

 ple, plain-language notice of the rights declared by this Court. In Women Prisoners of D.C. Dep't

 of Corr. v. D.C., 877 F.Supp. 634, 682 (D.D.C. 1994), for example, after holding that corrections

 officials violated their duty to provide obstetric and gynecological care to incarcerated women, the

 court went on to require that “the Defendants shall inform all women prisoners of the procedure

 to access health services while incarcerated.” Notice relief that is ancillary to relief already being

 granted is fully permissible31 and, here, makes good common sense.

           Likewise, the Court should recognize that the passage of time will have made UKH’s suits

 on the alleged debt far more difficult to defend. Memories fade; documents get lost. Because Class

 Members never knew they had a right to a hearing, they were never in a position to protect them-

 selves while they still had their paper and still remembered what had happened. The circumstances

 here are similar to those in Hicks v. Comm’r of Soc. Sec., 909 F.3d 786 (6th Cir. 2018), which was

 30
      See generally Midland Funding, LLC v. Johnson, 137 S.Ct. 1407, 1417-18 (2017) (Sotomayor, J. dissenting).
      Although CKMS, as a “debt collector” within the meaning of the FDCPA, would be prohibited from engaging in
      such conduct, see, e.g., 12 C.F.R. § 1006.26, UKH is the original creditor and thus is not subject to those provisions
      of the FDCPA, see, e.g., Montgomery v. Huntington Bank, 346 F.3d 693, 698 (6th Cir. 2003).
 31
      Compare Quern v. Jordan, 440 U.S. 332, 349 (1979) (granting notice relief that was “ancillary to the prospective
      relief already ordered by the court”) with Green v. Mansour, 474 U.S. 64, 70-71 (1986) (notice relief not proper
      where not ancillary to other relief).


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 part of the fallout from Eric Conn’s conspiracy to defraud the Social Security Administration. The

 SSA dithered in holding redetermination hearings, and the Court concluded that Plaintiffs were

 “likely right” that “the SSA’s failure to act immediately caused them significant harm,” including

 “[making] it harder for plaintiffs to supplement their administrative records with additional rele-

 vant materials and enabl[ing] Conn to destroy records.” Id. at 812. The Court further concluded

 that “[t]hese harms may have had a ‘substantial influence’ on plaintiffs’ ability to establish their

 initial eligibility for benefits long after the initial determination hearings.” Id. The remedy, the

 Court held, was to provide “greater procedural protections” in any redetermination hearings that

 were held. Id. at 813.

        So too here. The Court cannot turn back the clock to when Plaintiffs and the Class Members

 should have had the opportunity to contest their alleged debt, but it can ameliorate some of the

 effects of the passage of time by ordering UKH to provide each Class Member it chooses to sue

 with a full and complete set of UKH’s own records regarding that Class Member. Incomplete as

 such relief may be, it will give the Class Member at least some chance of defending UKH’s suit

 properly.

             VI.   RELIEF IS APPROPRIATE AGAINST UKH AND KMSF

             A.    UKH Is Liable for Causing the Deprivation of Class
                   Members’ Property Without Due Process.

        In its motion for summary judgment (ECF#88), UKH cited Ashcroft v. Iqbal, 556 U.S. 662,

 676 (2009), for the proposition that there is no vicarious liability in suits under 42 U.S.C. § 1983,

 so that—it said—“whether the DOR’s collection action violated the Constitution is irrelevant to

 whether the University’s act of referring an account pursuant to statutory authority to do so con-

 stitutes a deprivation of property” (ECF#88 PageID#1312). The proposition of law is unremarka-

 ble, but the conclusion UKH tried to draw was simply wrong.



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           UKH’s liability is not vicarious but direct. Section 1983 imposes liability on one who “sub-

 jects, or causes to be subjected” another person to a deprivation of constitutional rights, and it is

 settled law that:

           Even if an intervening third party is the immediate trigger for the plaintiff’s injury,
           the defendant may still be proximately liable, provided that the third party’s actions
           were foreseeable.

 Powers v. Hamilton Cnty. Pub. Defender Comm’n, 501 F.3d 592, 609 (6th Cir. 2007), cert. denied,

 555 U.S. 813 (2008); accord, e.g., King v. Zamiara, 680 F.3d 686, 695 (6th Cir. 2012); Lacey v.

 Maricopa County, 693 F.3d 896, 915 (9th Cir. 2012) (en banc) (liability attaches to “setting in

 motion a series of acts by others which the actor knows or reasonably should know would cause

 others to inflict the constitutional injury”); Gutierrez-Rodriguez v. Cartagena, 882 F.2d 553, 560–

 61 (1st Cir. 1989) (same). As the Sixth Circuit said in Zamiara, a defendant “may therefore be

 liable under § 1983 for the natural consequences of his actions, . . . [which] includes liability for

 acts giving rise to the ultimate harm, even if the harm is executed by someone else.” 680 F.3d at

 695 (internal quotations and citations omitted).

           As set forth in Powers, the test for causation is whether the third party’s actions “were

 foreseeable.” 501 F.3d at 609; accord, e.g., Garza v. Lansing School Dist., 972 F.3d 853, 868 (6th

 Cir. 2020). Here, of course, DoR’s deprivations of the property of Plaintiffs and the Class Members

 were not merely “foreseeable” when UKH referred accounts to DoR; the deprivations were the

 known, intended, and contracted-for results of the referrals.32 As DoR itself has asserted, “both


 32
      That collection by garnishment, levy, and tax refund offset was known, intended, and contracted-for is perhaps too
      obvious to require evidentiary support, but the first DOR/UKH agreement, in 2006, expressly referred to DOR’s
      using the “procedures . . . to collect delinquent state and local taxes” instead of CKMS’s “ordinary collection
      procedures” (ECF#95-43, preamble and ¶ 1), and Defendant Watts gave UKH an example of a “warning letter” to
      be issued for such collections that expressly referred to seizure of real and personal property, bank levies, and
      wage garnishments (Ex. 148 (ECF#108-20)). Watts’s November 2015 letter to UKH likewise included language
      to be included in UKH’s “initial invoices” warning that delinquent accounts “will be turned over to the common-
      wealth of Kentucky, Department of Revenue for collections,” which “may result in wage garnishments, bank lev-
      ies, tax refund seizures or other collection actions” (ECF#95-8, p.3). The last agreement between UKH and DOR
      (Ex. 130 (ECF#108-2) at DOR 00386) expressly refers to garnishment and tax refund offsets. See also Ex. 149


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 UK and the Department are state agencies acting together to collect on medical debts owed to UK

 Healthcare . . . .” (ECF#94 PageID#1700; emphasis added).

             There is, moreover, overwhelming evidence that the Defendants’ joint conduct did not

 cease once UKH referred a debt to DOR for collection. This was far from “one and done”; UKH

 was intimately involved, on a daily basis, in DOR’s collection activities. Among other things:

         •       UKH and DoR met regularly to discuss ongoing collections issues and proce-
                 dures.33
         •       Senior officials at UKH developed a detailed “work process for the DOR liaison”
                 on collections issues.34
         •       UKH (generally through CKMS) retains—and has used on hundreds of occasions
                 (ECF#95 ¶¶ 183-200)—authority to instruct DoR to void UKH accounts at DoR.35
         •       UKH retained and used the authority to instruct DoR to adjust a patient’s bal-
                 ance.36 Only UKH had the authority to adjust for hardship; DoR did not. (Watts
                 89:9-17).
         •       UKH retained and used the authority to direct application of payments to specific
                 accounts. In one instance (Ex. 140 (ECF#108-12)), CKMS’s Larry Willoughby
                 directed a void, to which DoR’s Jeffrey Thompson responded:
                    Voided bill. There is another bill on the case that we can move the payments
                    over to. Would you like DOR to do that or issue the refund?
                 Willoughby replied (emphasis added):
                    You know I guess we had better try and keep the money so yes if you
                    can transfer it then please do so. Please just let us know what account you
                    are transferring it from, the amount and what account you are transferring
                    it to so that our totals can match.
         •       UKH retained and used the authority to settle cases.37

             UKH instigated, participated in, and benefited from the entire DoR collection regime, every

 aspect of which was infected by the initial lack of due process. Accordingly, UKH is liable for its



      (ECF#108-21) at UK_0006919 (“Keep in mind that our collection process does involve enforced collections. If
      there is a case that you don’t want us to levy you should consider voiding that case.”)
 33
      E.g., Ex. 131; Ex. 132; Ex. 147 (ECF##108-3, -4, -19).
 34
      Ex. 133 (ECF#108-5).
 35
      E.g., Davidson Complaint Tracker 30(b)(6) (ECF#101-23) 46:4-48:1-2; Exs. 134-139 (ECF##108-6 to -11).
 36
      E.g., Exs.141, 142 (ECF##108-13, -14).
 37
      E.g., Exs. 143-145 (ECF##108-15 to -17)


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 own conduct in “caus[ing]” Plaintiffs and the Class “to be subjected to” DoR’s deprivations of

 their property without due process of law. And it is therefore likewise properly subject to the de-

 claratory and injunctive relief sought by this motion

              B.       Relief Is Appropriate as to KMSF Debts

           UKH has recently suggested that relief is not appropriate as to KMSF debts, because (it

 says) KMSF is not a party to this action. The Class Definition, however, expressly states the KMSF

 is a “subsidiary” of UKH, and that definition was entered on a litigated motion, on which UKH

 never raised an issue with the characterization. Whatever may or may not be the situation in other

 circumstances, it is the law of this case that KMSF is under UKH’s control (and thus properly

 subject to relief).

           Moreover, since 1984, KMSF’s debts have been collected by CKMS pursuant to a formal

 written agreement (Ex. 159). This is not a mere agency agreement; the KMSF accounts are actually

 assigned to CKMS, which then proceeds to collect on them (id. ¶ 1). While UKH’s arrangement

 with DoR was in place, moreover, KMSF accounts were expressly subject to “reassignment to UK

 for further reassignment to DOR” (id. ¶ 3). And, of course, UKH has not merely admitted but

 expressly asserted that CKMS is UKH’s own “alter ego.”38

           Accordingly, UKH and CKMS are all over the KMSF accounts. Whatever may be the sta-

 tus of KMSF the entity, it is indisputable that KMSF accounts are under the control of UKH/CKMS

 and thus are properly subject to relief herein.39




 38
      Ex. 158 ¶ 25.
 39
      Depending on the position UKH takes, it may be appropriate for the declaratory relief requested herein to be
      entered in the form of an injunction, so that KMSF the entity will be subject to it as one “in active concert or
      participation” with UKH and CKMS, see Fed.R.Civ.P. 65(d)(2)(C).


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                                           CONCLUSION

        The Court should grant summary judgment for Plaintiffs and the Class and enter the de-

 claratory and injunctive described in Point V and set forth in the Proposed Order.


 Respectfully submitted,
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                                    CERTIFICATE OF SERVICE

        I hereby certify that on this 6th day of December, 2022, the foregoing was served by filing

 in the Court’s ECF system, which will deliver true and accurate copies to:

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